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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA,

         Plaintiff,                                Case No. 1:24-cv-07214-JGK-SLC

         v.

 VISA INC.,                                        Oral Argument Requested

         Defendant.



               MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

       PLEASE TAKE NOTICE that, upon the accompanying memorandum of law, supporting

declaration, the exhibits annexed thereto, and all other papers and proceedings herein, Defendant

now moves this Court, before the Hon. John G. Koeltl, United States District Judge, United States

District Court for the Southern District of New York, 500 Pearl Street, New York, New York

10007, for an Order pursuant to Federal Rule of Civil Procedure 12(b)(6) dismissing Plaintiff’s

Complaint (ECF No. 1) in its entirety.
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DATED: December 16, 2024                 Respectfully submitted,


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